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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division

UNITED STATES OF AMERICA


V.                                                Criminal No. 3:15CR33

DWAYNE LAMON SMITH


                           MEMORANDUM OPINION


       Dwayne Lamon Smith, a federal inmate proceeding pro se, brings

this motion pursuant to 28 U.S.C. § 2255. (EOF No. 33).                    The

Government has responded, asserting that Smith's § 2255 Motion is

untimely.    For the reasons set forth below, the § 2255 Motion will

be dismissed as barred by the statute of limitations.i


                         I.    PROCEDURAL HISTORY


       On July 16, 2015, the Court entered judgment against Smith

and sentenced him to 188 months of imprisonment for possession

with   intent to    distribute     ICQ   grams   or   more   of   heroin   and

possession of firearm by a convicted felon.            (ECF No. 30, at 1-

2.)    Smith's sentence was based, in part, by the deteirmination

that Smith was a career offender.        (ECF No. 23, f 21.)       Smith did

not appeal.




     ^ The Court employs the pagination assigned by the CM/ECF
docketing system. The Court corrects the capitalization, spelling
and piinctuation in the quotations from the Smith's submissions.
The Court corrects the emphasis from Smith's quotations.
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